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5
     Attorney for Defendant
6    PHILLIP JACKSON
7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. F 03- 5054 OWW
                                     )
12                  Plaintiff,       )      STIPULATION AND ORDER TO REDUCE
                                     )      SENTENCE PURSUANT TO 18 U.S.C.
13        v.                         )      § 3582(c)(2)
                                     )
14   PHILLIP JACKSON,                )      RETROACTIVE CRACK COCAINE
                                     )      REDUCTION CASE
15                  Defendant.       )
                                     )
16   _______________________________ )
17        Defendant, PHILLIP JACKSON, by and through his attorney, Assistant
18   Federal Defender David M. Porter, and plaintiff, UNITED STATES OF
19   AMERICA, by and through its counsel, Assistant U.S. Attorney Samuel
20   Wong, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   The sentencing range applicable to Mr. Jackson was
27   subsequently lowered by the United States Sentencing Commission in
28   Amendment 706 by two levels;
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1         3.    Accordingly, Mr. Jackson's adjusted offense level has been
2    reduced from 31 to 29, and a sentence for the drug count at the
3    mandatory minimum would be 120 months;
4         4.    Mr. Jackson merits a reduction in his sentence based on the
5    factors listed in 18 U.S.C. § 3553(a), as well as considerations of
6    public safety and Mr. Jackson's positive post-sentencing conduct;
7         5.    Accordingly, the parties request the court to enter the order
8    lodged herewith resentencing Mr. Jackson to a term of 120 months.
9    Dated:    October 1, 2008
10   Respectfully submitted,
11   McGREGOR SCOTT                        DANIEL J. BRODERICK
     United States Attorney                Federal Defender
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13
      /s/ Dawrence W. Rice, Jr.             /s/ David M. Porter
14   DAWRENCE W. RICE, Jr.                 DAVID M. PORTER
     Assistant U.S. Attorney               Assistant Federal Defender
15
     Attorney for Plaintiff                Attorney for Movant
16   UNITED STATES OF AMERICA              PHILLIP JACKSON
17
18        I understand and acknowledge that the relief sought by way of this
19   stipulation, that is the reduction of my sentence to 120 months, is the
20   only relief I will receive as a result of the pro se motion I filed on
21   April 25, 2008.
22   Dated:    September ___, 2008
23
                                           PHILLIP JACKSON
24
25
                                         ORDER
26
          This matter came before the Court on the pro se motion of the
27
     defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2)
28
     STIPULATION AND ORDER REDUCING
     SENTENCE
                                          -2-
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1    filed April 25, 2008.
2         On December 1, 2003, this Court sentenced Mr. Jackson to a term of
3    121 months.    The parties agree, and the Court finds, that Mr. Jackson
4    is entitled to the benefit of the retroactive amendment reducing crack
5    cocaine penalties, which reduces the applicable offense level from 31
6    to 29, and that an appropriate sentence on Count 2 would be at the
7    mandatory minimum of 120 months.
8         IT IS HEREBY ORDERED that the term of imprisonment originally
9    imposed is reduced to 120 months.
10        IT IS FURTHER ORDERED that all other terms and provisions of the
11   original judgment remain in effect.
12        Unless otherwise ordered, Mr. Jackson shall report to the United
13   States Probation office closest to the release destination within
14   seventy-two hours after his release.
15   IT IS SO ORDERED.
16   Dated: October 10, 2008               /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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     STIPULATION AND ORDER REDUCING
     SENTENCE
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